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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                :
UNITED STATES OF AMERICA                        :       Case No.: 1:21-cr-00660-RBW

                                                :
          v.                                    :       40 U.S.C. § 5104(e)(2)(G)
                                                :
DANIEL MICHAEL MORRISSEY,                       :
                                                :
          Defendant.                            :
                                                :

                                   STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, DANIEL MICHAEL

MORRISSEY, with the concurrence of his attorney, agree and stipulate to the below factual basis

for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate

that the United States could prove the below facts beyond a reasonable doubt:

                          The Attack at the U.S. Capitol on January 6, 2021

          1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.       On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.       On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting


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in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.       At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.       At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $1.4 million dollars for repairs.



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       7.       Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


        Daniel Michael Morrissey’s Participation in the January 6, 2021, Capitol Riot

       8.       On January 18, 2021, a confidential witness contacted the FBI tip line and reported

that a co-worker showed him/her photographs of Morrissey, who formerly worked at the same

company, inside the US Capitol building that Morrissey sent to the co-worker via text message.

Morrissey sent the co-worker a text message on January 6, 2021 of himself at the Lincoln

Memorial. The co-worker replied and asked Morrissey if he was at the Capitol. Morrissey

responded with a photo that appears to have been taken inside the Capitol followed by the text

“Shit got crazy” and “I nave (sic) it all on video.” Morrissey then sent a selfie, apparently taken

inside the U.S. Capitol building (below).




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       9.       The following day, Morrissey sent the co-worker a video of himself inside the

Capitol building in the rotunda area, wearing the same hat and sunglasses as shown in the picture

above. The crowd can be heard loudly chanting, “U-S-A” throughout the video.

       10.      Morrissey entered the Capitol building through the Rotunda door at 2:27 pm.

Morrissey proceeded into Statuary Hall, then entered the Will Rogers Hallway before protesting

at the House Main Door. He exited the Upper House Doors at 2:55 pm, for a total of approximately

28 minutes inside the Capitol.


                                     Elements of the Offense

       11.      Daniel Michael Morrissey knowingly and voluntarily admits to all the elements of

40 U.S.C. § 5104(e)(2)(G). Specifically, the defendant willfully and knowingly entered the U.S.

Capitol Building knowing that that he did not have permission to do so. Defendant further admits

that while inside the Capitol, defendant willfully and knowingly paraded, demonstrated, or

picketed.




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                                   Respectfully submitted,


                                   MATTHEW M. GRAVES
                                   United States Attorney
                                   D.C. Bar No. 481052




                           By:
                                   Christopher Tortorice
                                   Assistant United States Attorney
                                   TX Bar No. 24048912




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                             DEFENDANT'S ACKNOWLEDGMENT


        I, Daniel Mich?el Morrissey.        ,    ad this Sta:ement o_!)il-€ 1Tense and have discussed
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1t with my attorney. I fully understan          Sta ment ot the Of nse. �  I , gree and acknmvledge by
my signature that this Stateme                                      urate. I lo this voluntarily and of
my own free will. No threats h                                      der the fluence of anything that
could impede my ability to tm                                                  y.


Date: °""""�'5L......f..�Z7=-L____--\




       I have read this Statement of the Offense and have revie,,ved it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.



       2-7-2022
Date: ---------
                                         Anthony .lis
                                         Attorney for Defendant




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